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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

                                                        )
BOSTON SCIENTIFIC CORP. and BOSTON                      )
SCIENTIFIC NEUROMODULATION CORP.,                       )
                                                        )
                       Plaintiffs,                      )
                                                        )    C.A. No. 16-1163-CFC
         v.                                             )
                                                        )
NEVRO CORP.,                                            )
                                                        )
                       Defendant.                       )

          PLAINTIFFS’ MOTION TO LIFT STAY OR, IN THE ALTERNATIVE,
                  TO BIFURCATE AND PARTIALLY LIFT STAY

        Plaintiffs Boston Scientific Corp. and Boston Scientific Neuromodulation Corp.

(collectively, “BSC”) hereby move to lift the stay pending inter partes review entered by the

Court on June 15, 2018 (D.I. 244). In the alternative, BSC moves the Court to bifurcate and

partially lift the stay. The bases for this motion are fully set forth in the Opening Brief filed

herewith.

DATED: February 22, 2019                              YOUNG CONAWAY STARGATT & TAYLOR LLP

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                                 CERTIFICATE OF SERVICE

        I, Karen L. Pascale, Esquire, hereby certify that on February 22, 2019, I caused to be

electronically filed a true and correct copy of the foregoing document with the Clerk of the Court

using CM/ECF (which will send notification that such filing is available for viewing and

downloading to all registered counsel), and in addition caused true and correct copies of the

foregoing document to be served upon the following counsel of record by electronic mail:

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